                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SONY MUSIC ENTERTAINMENT,                        )
 SONY MUSIC ENTERTAINMENT US                      )
 LATIN, LLC, ULTRA RECORDS, LLC,                  )
 LAFACE RECORDS, LLC, ARISTA                      )   C.A. No. ________________
 MUSIC, ARISTA RECORDS, LLC,                      )
 RECORDS LABEL, LLC, RIMAS                        )   JURY TRIAL DEMANDED
 ENTERTAINMENT, LLC and ZOMBA                     )
 RECORDING LLC,                                   )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )
                                                  )
 MARRIOTT INTERNATIONAL, INC. and                 )
 DOES 1-50,                                       )
                                                  )
                Defendant.                        )


                        COMPLAINT FOR COPYRIGHT INFRINGEMENT

       Plaintiffs Sony Music Entertainment; Sony Music Entertainment US Latin, LLC; Ultra

Records, LLC; LaFace Records, LLC; Arista Music; Arista Records, LLC; Records Label, LLC;

Rimas Entertainment, LLC and Zomba Recording LLC (collectively, “Sony Music” or

“Plaintiffs”), for their Complaint and Demand for Jury Trial against Marriott International, Inc.

(“Marriott” or “Defendant”), allege as follows:

                               PRELIMINARY STATEMENT

       1.      This is an action to stop Marriott’s rampant infringement of Sony Music’s valuable

copyrights in some of the most popular sound recordings in the world, and recover damages for

Marriott’s willful conduct.

       2.      Marriott is a behemoth of the hospitality industry. It owns, operates, franchises

and/or manages some of the most successful and well-known hotel brands and properties across

the globe.
       3.      Marriott also operates a social media empire, with millions of followers across

multiple social media platforms and accounts.

       4.      Marriott is responsible for social media accounts associated with Marriott’s owned

brands and owned hotels (“Owned Social Media Pages”).

       5.      Marriott is also responsible for the social media accounts associated with Marriott’s

managed hotels (“Managed Social Media Pages”).

       6.      Marriott is additionally responsible for the social media accounts for franchised

hotels (“Franchised Social Media Pages” and together with the Owned Social Media Pages and

Managed Social Media Pages, the “Marriott Social Media Pages”).

       7.      The Marriott Social Media Pages are populated with videos advertising and

showcasing Marriott’s brands and hotels.

       8.      In January 2020, Sony Music notified Marriott that many of the Marriott Social

Media Pages included videos using, without authorization, copyrighted sound recordings owned

and/or controlled by Sony Music.

       9.      By November 2020, Sony Music had identified hundreds of videos containing

unlicensed Sony Music sound recordings on the Marriott Social Media Pages.
       10.     Since that time, Sony Music has continued to give Marriott notice of its continuing

infringing conduct on multiple occasions, including most recently on March 22, 2024.

       11.     Marriott initially entered into a tolling agreement with Sony Music but then refused

to enter into reasonable extensions or new tolling agreements and refused to timely identify which

hotels Sony Music identified were managed or franchised, necessitating this lawsuit.

       12.     Many of the videos containing unlicensed Sony Music sound recordings

specifically identified as infringing are still on the Marriott Social Media Pages.

       13.     Even after being put on notice of its infringing conduct, Marriott continues to


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populate the Marriott Social Media Pages with new videos containing unlicensed Sony Music

sound recordings.

         14.      Because Marriott has known for years of Sony Music’s claims, but has continued

to use Sony Music sound recordings without authorization, Marriott’s conduct is willful.

         15.      In the time since Sony Music first put Marriott on notice of its unauthorized use of

Sony Music sound recordings, Sony Music has identified at least 931 infringements of Sony

Music’s popular and valuable sound recordings in the United States alone.

         16.      913 of those infringements were contained in videos posted on the Marriott Social

Media Pages (collectively the “Marriott Videos”). Those infringements are listed in Exhibit 1,

which is a representative list of infringing uses for which Marriott is responsible. 1

         17.      Sony Music has also identified eighteen infringements of Sony Music’s popular

and valuable sound recordings in videos promoting Marriott’s brands and/or hotels by paid

influencers on the influencers’ own social media pages (collectively the “Marriott Influencer

Videos”). Those infringements are listed in Exhibit 2, which is a representative list of infringing

uses created and/or posted by third-party influencers for which Marriott is responsible.

         18.      The scope of infringement that Sony Music has discovered on its own is, upon

information and belief, only the tip of the iceberg, and Sony Music believes discovery in the case

will reveal much more. 2

         19.      There are undoubtedly additional infringing videos Sony Music has yet to discover,

which likely include content posted for only a limited time period on Instagram Stories, Snapchat,


1
  The URLs provided in Exhibit 1 are included to assist with identifying the infringing videos but the infringing
videos often appear on more than one platform.
2
  This Complaint identifies Marriott posts and posts by Marriott influencers from the past three years (including, where
appropriate, uses for which a tolling agreement applied) on Marriot Social Media Pages and the influencers’ own
social media pages for Marriott properties located in the United States. Upon information and belief, Marriott’s
infringing activity is far broader, including on social media accounts associated with properties located outside the
United States.


                                                           3
and the like – platforms Marriott also uses for social media marketing. 3

        20.      Upon information and belief, the infringing uses listed in Exhibit 1 were all posted

on Marriott Social Media Pages.

        21.      Upon information and belief, the infringing uses listed in Exhibit 2 were all posted

on the social media pages owned and/or controlled by influencers compensated by Marriott.

        22.      The sound recordings listed in Exhibits 1 and 2 include some of the biggest hits

by household names such as Beyoncé, Harry Styles, Britney Spears, Mariah Carey, Michael

Jackson, Miley Cyrus, Shakira, and Doja Cat.

        23.      The Marriott Videos and Marriott Influencer Videos are advertisements.

        24.      The Marriott Videos and Marriott Influencer Videos promote Marriott’s brands,

properties, and services, and usually include video footage of Marriott-owned, Marriott-managed

or Marriott-franchised properties.

        25.      Sony Music’s recordings often form the entire soundtrack to the Marriott Videos

and Marriott Influencer Videos.

        26.      Sony Music’s recordings are central to the effectiveness and appeal of the Marriott

Videos and Marriott Influencer Videos, which capitalize on the popularity, artistry, and

entertainment value of those works.

        27.      The Sony Music Recordings generally run the length of the Marriott Videos and

Marriott Influencer Videos, and often include the catchiest or most familiar parts of those works.

        28.      The use of Sony Music’s recordings in the Marriott Videos and Marriott Influencer

Videos allows these videos to operate like a paid advertising campaign, enabling Marriott to reach

users of social media platforms that do not follow the Marriott Social Media Accounts.


3
 https://www.marketingdive.com/ex/mobilemarketer/cms/news/advertising/19386.html;
https://forbusiness.snapchat.com/inspiration/marriott-bonvoy-exceeds-roi-by3_4x-with-snapchat


                                                       4
       29.     Marriott chose not to obtain permission or pay for its use of copyrighted music.

       30.     Marriott’s conduct has caused and continues to cause substantial and irreparable

harm to Sony Music, while enriching Marriott at the expense of Sony Music and its artists.

       31.     This action is necessary because Marriott has refused to enter into and/or extend

reasonable tolling agreements, failed to stop its infringing conduct, and made no effort to enter

into good faith negotiations to redress its infringements.

                                 JURISDICTION AND VENUE

       32.     This Court has original subject matter jurisdiction over this action pursuant to 17

U.S.C. §§ 101 et seq., 28 U.S.C. §§ 1331 and 1338(a).

       33.     The Court has personal jurisdiction over Marriott.

       34.     Marriott is incorporated in the State of Delaware.

       35.     Marriott is doing and has been doing business continuously in the State of

Delaware.

       36.     A substantial part of the wrongful acts committed by Marriott occurred in the State

of Delaware, including by reproducing sound recordings owned by Sony Music, preparing

derivative works based upon Sony Music’s sound recordings, making such derivative works

available for distribution, and directing, overseeing, contributing to, and/or benefitting from its

influencers’ infringement of Sony Music’s sound recordings, within the State of Delaware.

       37.     Venue is proper in this district under 28 U.S.C. § 1391(b) and 28 U.S.C. §1400(a).

       38.     A substantial part of the acts of infringement, and other events and omissions

complained of herein, occurred in this district.

       39.     This is the district in which Marriott resides.




                                                   5
                                        THE PARTIES

       A.     The Plaintiffs

       40.    Plaintiff Sony Music Entertainment (“SME”) is a Delaware general partnership,

engaged in the business of recorded music and headquartered in New York City.

       41.    SME’s principal place of business is located at 25 Madison Avenue, New York,

New York 10010.

       42.    Plaintiff Sony Music Entertainment US Latin, LLC (“Sony Latin”) is a Delaware

Limited Liability Company with its principal place of business at 3390 Mary St., Suite 220,

Coconut Grove, Florida 33133.

       43.    Plaintiff Ultra Records, LLC (“Ultra”) is a Delaware Limited Liability Company

with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       44.    Plaintiff Zomba Recording LLC (“Zomba”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       45.    Plaintiff Arista Music (“Arista Music”) is a New York partnership with its principal

place of business at 25 Madison Avenue, New York, New York 10010.

       46.    Plaintiff LaFace Records, LLC (“LaFace”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       47.    Plaintiff Arista Records, LLC (“Arista Records”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

       48.    Plaintiff Rimas Entertainment, LLC (“Rimas”) is a Limited Liability Company

registered in the Commonwealth of Puerto Rico with its principal place of business at 644 Avenida

Fernandez Juncos District View Office Center, Suite 501, San Juan, Puerto Rico, 00907.

       49.    Plaintiff Records Label, LLC (“Records Label”) is a Delaware Limited Liability

Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.


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       50.       Sony Latin, Ultra, Zomba, Arista Music, Arista Records, LaFace, Rimas and

Records Label are companies owned by or affiliated with SME.

       51.       Sony Music is engaged in the business of producing, manufacturing, marketing,

promoting, distributing, selling, and licensing sound recordings in the United States through

various media.

       52.       Sony Music invests substantial money, time, effort, and talent in creating,

advertising, promoting, selling, and licensing unique and valuable sound recordings embodying

the performances of its recording artists.

       B.        Defendant Marriott International, Inc.

       53.       Defendant Marriott International, Inc. is incorporated in Delaware and

headquartered in Maryland, with its principal place of business at 7750 Wisconsin Ave. Bethesda,

MD 20814.

       54.       On information and belief, Does 1 through 50 own and/or operate Marriott-

managed hotels and/or Marriott-franchised hotels, are employees of Marriott, and/or are otherwise

responsible for and proximately caused or are causing the harm and damages alleged in this

Complaint.

       55.       Plaintiffs are presently unaware of the true names and/or the involvement of the

defendants sued as Does 1 through 50. Plaintiffs will seek leave to amend this pleading to identify

those defendants when their true names and involvement in the infringements and other wrongful

conduct hereinafter described become known.

                                  SONY MUSIC’S BUSINESS

       56.       Sony Music is home to some of the world’s most distinguished record labels,

including Columbia Records, RCA Records, Sony Music Nashville, Arista Records, Ultra




                                                 7
Records, and Epic Records, through which Sony Music contracts with its world-class recording

artists.

           57.   Through substantial investments of money, time, and creative effort, Sony Music

and its recording artists have developed some of the most iconic sound recordings of all time, as

well as many of today’s biggest hits.

           58.   Sony Music owns copyrights and/or exclusive rights in and to many of the most

popular sound recordings in the world—including, for example, “All I Want For Christmas Is

You” by Mariah Carey, “Flowers” by Miley Cyrus, “As It Was” by Harry Styles, “…Baby One

More Time” by Britney Spears, “Thriller” by Michael Jackson, and “Say So” by Doja Cat—as

well as the other sound recordings identified in Exhibits 1 and 2 (the “Sony Music Recordings”).

           59.   Sony Music also invests heavily in signing and developing new artists.

           60.   Sony Music often invests on the front end of an artist’s career—through advances,

recording, marketing, creative services, promotion, and more—looking to help the artist, and the

artist’s recordings, achieve success.

           61.   Sony Music’s financial incentives to invest in artists and their music flow directly

from the protections afforded by the copyright laws, and the revenues, including licensing

revenues, Sony Music earns from the sound recordings that it owns or controls.

           62.   The investments made by Sony Music are protected by copyright law, which grants

the copyright owner the exclusive right to, among other things, reproduce and distribute

copyrighted works (in this case, sound recordings), publicly perform and transmit those works,

and create derivative works from the originals.

           63.   Each Sony Music Recording is either: a) covered by a valid copyright registration;

b) one for which Sony Music has the rights to pursue these claims for sound recordings originating




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outside of the United States under the Berne Convention; or c) is a sound recording fixed before

February 15, 1972, and included on a schedule filed with the Copyright Office pursuant to the

Orrin G. Hatch-Bob Goodlatte Music Modernization Act.

       64.     Licensing the use of sound recordings—including for use in internet-based media—

is a substantial revenue driver for all music companies, including Sony Music, and especially so

over the last decade.

       65.     Sony Music regularly licenses its content for use in commercials, films, video

games, and other audiovisual works, including advertisements that are uploaded to, distributed and

publicly performed on websites and social media.

       66.     An important portion of Sony Music’s return on its investment, which it shares with

its recording artists, comes from licensing its recordings to others who use those sound recordings

in videos, television shows, commercials, social media, and the like.

       67.     Companies pay substantial sums to use popular Sony Music sound recordings in

digital advertising content, including in videos posted by paid influencers, on YouTube, Instagram,

Facebook, TikTok, and other digital platforms.

       68.     Sony Music has licensing agreements with many types of companies including with

various hospitality companies that compete with Marriott, and with companies in related markets,

often including the right to use Sony Music’s content on the internet and on social media.

       69.     Those who use Sony Music sound recordings are obligated to follow copyright laws

and obtain permission from Sony Music.

       70.     However, with respect to hundreds, if not thousands, of advertisements containing

popular music, Marriott did not.




                                                 9
                 MARRIOTT’S SYSTEMIC INFRINGEMENT ON SOCIAL MEDIA

           B.      The Importance of Social Media to Marriott’s Marketing Strategy

           71.     Marriott relies heavily on social media marketing to build and promote its brands

and hotel properties, whether owned, managed, or franchised.

           72.     Marriott has engaged in concerted social media marketing efforts, including on

Facebook, Instagram, YouTube, Twitter, Snapchat, TikTok, and other digital platforms to increase

its brand value, cachet, sales, and customer base.

           73.     Marriott has amassed millions of followers across the social media platforms and

accounts for its over 30 brands and countless individual properties.

           74.     Marriott Bonvoy, for example, has amassed 1.6 million followers on Instagram,

alone. 4

           75.     Many of Marriott’s other brands enjoy Instagram follower counts in the hundreds

of thousands. 5

           76.     These counts do not include the various social media accounts for each of the

brands’ individual hotel properties, many of which boast substantial followings in their own right.6

           77.     As of May 9, 2024, a search for the hashtag #marriott yields 1.6 million videos on

Instagram alone. 7

           78.     Marriott recognizes the importance of social media videos in driving its success.


4
  https://www.instagram.com/marriottbonvoy/?hl=en
5
  https://www.instagram.com/ritzcarlton/?hl=en (The Ritz-Carlton; 787K followers);
https://www.instagram.com/marriotthotels/?hl=en (Marriott Hotels; 577K followers);
https://www.instagram.com/whotels/?hl=en (W Hotels; 418K followers);
https://www.instagram.com/sheratonhotels/?hl=en (Sheraton; 215K followers);
https://www.instagram.com/jwmarriotthotels/?hl=en (JW Marriott; 185K followers);
https://www.instagram.com/westin/?hl=en (Westin; 170K followers)
6
  See, e.g., https://www.instagram.com/jwmarcoisland?igsh=N2tvamNzZHlhMzNo (JW Marco Island; 87.2K
followers); https://www.instagram.com/wmiamihotel?igsh=MXBiajZrcnhpbG03aQ== (W Hotel Miami; 71.5K
followers); https://www.instagram.com/sheratonwaikiki?igsh=eHg1bWlwNG8xZThz (Sheraton Waikiki Beach
Resort; 58.7K followers)
7
  https://www.instagram.com/explore/tags/marriott


                                                   10
         79.       According to Marriott’s former CEO and president, Marriott is “[m]ore and more

… devoting resources and talented associates to paying attention to online customer feedback and

to connecting with guests” on social media. 8

         80.       Marriott reportedly outspends its peer hotels on social media ads, purportedly

securing a 93% “share of voice” in paid-for social media advertising. 9

         81.       Marriott’s social media marketing efforts have been in conscious disregard of the

intellectual property rights of Sony Music and, upon information and belief, other major record

labels, as well as music publishing companies.

         C.        Marriott’s Brands and Properties

         82.       Marriott touts itself as “a brand leader … [o]ffering the most powerful portfolio in

the industry,” with “more than 30 leading brands and nearly 8,800 properties in 139 countries and

territories . . . .” 10

         83.       Marriott’s portfolio of brands includes Marriott Bonvoy, The Ritz-Carlton, St.

Regis, W Hotels, Sheraton, Westin, JW Marriott, Marriott Hotels, and many more.

         84.        Marriott’s properties generally fall into three categories: owned, managed, and

franchised.

         85.       On information and belief, Marriott is directly responsible for the social media

accounts for each type of property.

         86.       Upon information and belief, Marriott requires all its properties – whether owned,

managed, or franchised – to conform to specific, written guidelines and policies for social media

advertising.



8
  https://www.linkedin.com/pulse/my-valentine-social-media-arne-sorenson/
9
  https://www.phocuswire.com/Marriott-outspends-hotel-rivals-on-social-media-ads
10
   https://www.marriott.com/marriott/aboutmarriott.mi


                                                      11
                  1.       Marriott’s Owned Properties and Brands.

         87.      Marriott’s owned properties and brands are owned, managed, and run by Marriott,

including the owned properties’ and brands’ social media pages.

                  2.       Marriott’s Managed Properties.

         88.      Marriott runs and manages the hotels at its managed properties, including their

social media pages.

         89.      Upon information and belief, third parties (some of which may be affiliated with

Marriott) own the real property at Marriott’s managed properties.

         90.      Marriott manages over 2,100 hotels globally.

         91.      In a recent 10-K filing, Marriott stated that “[u]nder our management …

agreements, hotel owners … participate in certain centralized programs and services, such as

marketing …. We operate these programs and services for the benefit of our hotel owners.” 11
         92.      Marriott’s management agreement states that Marriott “supervise[s], direct[s] and

control[s] the management, promotion and operation” of its managed hotels. 12

         93.      Marriott’s management agreement states that Marriott “recruit[s], employ[s],

supervise[s], direct[s], and discharge[s] the employees” at its managed hotels. 13

         94.      Marriott’s management agreement states it “[a]rrange[s] for and supervise[s] public

relations and advertising” for its managed hotels. 14

         95.      Marriott’s management agreement states, “[t]he operation of the Hotel shall be

under the exclusive supervision and control of [Marriott]….” 15




11
   https://marriott.gcs-web.com/static-files/0f66a698-c5bd-4fdd-9c03-95b3111600e9 at p.42
12
   https://contracts.justia.com/companies/hospitality-properties-trust-660/contract/106143/; see also
https://www.lawinsider.com/contracts/avwQ0Wtraeh;
13
   Id.
14
   Id.
15
   Id.


                                                         12
        96.      Under Marriott’s management agreements, property owners pay Marriott a base

management fee plus an incentive fee based on operating profit.

        97.      Upon information and belief, the fee received by Marriott includes revenue derived

from online and social media advertising.

        98.      In many instances, the Facebook pages for Marriott-managed properties indicate

that “Marriott International, Inc. is responsible for this Page” and has “completed [Facebook’s]

verification process,” as in the below example:




        99.      Marriott hires employees to be “the voice of more than 7,300 hotels” on social

media. 16

        100.     Marriott employees are “responsible for the moderation for all Marriott properties”

on social media. 17




16
   https://www.linkedin.com/in/mcintyregwen/ (LinkedIn profile of the “Senior Manager, Social Marketing,
Loyalty” at Marriott International).
17
   https://www.linkedin.com/in/jan-matan-69abb12b/ (LinkedIn profile of the “Social Media Liaison” at Marriott
International).


                                                       13
        101.     On its “Managed by Marriott” webpage, Marriott lists a “case study” in which it

was “extremely aggressive in marketing” one of its managed properties, and “worked with many

different social influencers establishing one of the most active social media presences for the

brand” on behalf of one of its managed properties. 18

                 3.      Marriott’s Franchised Properties.

        102.     Marriott franchises some of its brands, allowing hotel owners and operators to use,

among other things, Marriott names, trademarks and systems at franchised hotels.

        103.     Upon information and belief, Marriott operates or is directly involved in operating

the Franchised Social Media Pages for at least some, if not all, of its franchised hotels.

        104.     Under Marriott’s franchise agreements, Marriott receives an initial application fee

and continuing royalty fees calculated as a percentage of the hotel’s revenues. 19

        105.     Upon information and belief, the royalty fee includes revenue derived from online

and social media advertising.

        106.     In a recent 10-K filing Marriott states that “[u]nder our hotel franchising

arrangements, we generally receive an initial application fee and continuing royalty fees, which

typically range from four to seven percent of room revenues for all brands, plus up to four percent

of food and beverage revenues for certain full-service brands” and “[f]ranchisees contribute to our

centralized programs and services, such as our Marriott Bonvoy loyalty program, reservations, and

marketing.” 20




18
   https://www.hotel-development.marriott.com/how-we-work-together/managed-by-marriott
19
   https://www.hotel-development.marriott.com/resourcefiles/fdd-document/2023-mhr-fdd-3-31-2023.pdf
20
   Supra, note 11 at pp. 4-5


                                                     14
           107.     Marriott’s franchise agreements require franchisees to “deliver samples of

marketing materials not provided by [Marriott] and obtain prior approval from [Marriott] before

any use.” 21

           108.     Marriott retains the right to use any advertising material developed by a franchisee

in connection with other Marriott hotels “without compensation to Franchisee.” 22

           109.     Accordingly, Marriott affirmatively approves or, at the very least, has a right to

approve all franchised hotel advertising, including on social media.

           110.     Facebook pages for certain franchised properties also indicate that “Marriott

International, Inc. is responsible for this Page” and has “completed [Facebook’s] verification

process,” as in the below example:




           111.     Marriott’s franchise disclosure document states that “[Marriott] or our designee will

direct all advertising, promotional, and public relations programs and activities of the Marketing

Fund using our discretion over the concepts, materials, and media used in the programs and

activities and the placement and allocation” and that the “[Franchisee] must use signs and other


21
     Supra, note 19 at p. 77
22
     Id. at Ex. C, p. 6


                                                     15
marketing materials only in the places and manner approved or required by [Marriott] and in

accordance with the standards and applicable law” and “[Franchisee] must deliver samples of

marketing materials not provided by us and obtain prior approval from us before any use.” 23

        112.     The franchise disclosure document also provides that the Marketing Fund is put in

place to direct advertising and marketing activities and is employed to “promote general public

recognition of the Marriott hotel brand . . . .” 24

        D.       Marriott’s Influencer Marketing

        113.        Other Marriott Videos are created by so-called “influencers”, sometimes through

formal partnerships with Marriott, who promote Marriott’s brands or properties to their social

media followers, including but not limited to, in the Marriott Influencer Videos.

        114.     Upon information and belief, the influencers who created Marriott Influencer

Videos received free hotel stays, cash payments, discounts and/or a share in Marriott’s sales

generated from the infringing Marriott Influencer Videos in return for their creation of such

infringing videos.

        115.     Marriott copies many of the Marriott Influencer Videos to the Marriott Social

Media Pages to advertise its brands and/or properties.

        116.     On information and belief, Marriott has direct agreements with a number of

influencers, or has otherwise contracted for the influencers’ services.

        117.     Marriott advertises an “Affiliate Program” in which influencers can “earn

commissions on completed hotel stays” in connection with their promotion of Marriott brands

and/or hotels. 25



23
   Id. at p. 76
24
   Id.
25
   https://www.marriott.com/marriott/affiliateprogram.mi


                                                       16
           118.     Marriott boasts that its influencer “affiliates” work with a “Dedicated Affiliate

Team – We have a dedicated, highly experienced team of online marketers who are here to help

you succeed.” 26

           119.     Marriott has engaged in formal collaborations with several high-profile social

media influencers and celebrities.

           120.     Marriott uses Marriott Influencer Videos just like, and in lieu of, traditional

advertisements and commercials, and to great effect.

           121.     By Marriott’s own account, “[Marriott’s] influencer program helped drive four

times more traffic to our brand site year over year and contributed to steady increases in Brand

Health metrics across the board.” 27

           122.     By working with popular influencers, Marriott draws each of these influencers’

followers to the Marriott Social Media Pages and to the Marriott Videos and Marriott Influencer

Videos.

           123.     Upon information and belief, Marriott actively reviews and approves, or at the very

least has the right to review and approve, videos posted by Marriott influencer’s, including the

Marriott Influencer Videos. In some instances, Marriott has commented on Marriott Influencer

Videos.

           124.     Upon information and belief, Marriott also actively selected, copied, and re-posted

numerous Marriott Influencer Videos to the Marriott Social Media Pages.

           125.     Upon information and belief, there are many more infringing videos created by

Marriott’s influencers, but Sony Music is unable to discover all infringing videos as many of those

influencers do not disclose that they are being compensated by Marriott for the advertisement,


26
     Id.
27
     https://shortyawards.com/12th/marriott-hotel-ambassadors-let-their-minds-travel


                                                          17
contrary to FTC guidelines, and upon information and belief, some of videos posted by Marriott

influencers are only posted for a limited period of time.

           E.      Marriott’s Infringing Videos

           126.    Marriott recognizes the importance of music to its marketing strategy.

           127.    Music, including hundreds of unlicensed sound recordings owned by Sony Music,

is essential to the effectiveness of Marriott’s extensive social-media marketing campaigns.

           128.    It is no accident that the Marriott Videos use some of the most popular sound

recordings in Sony Music’s library.

           129.    The Marriott Social Media Pages are replete with marketing videos that rely on

popular music for their effectiveness.

           130.    According to Marriott’s former Vice President of Buzz Marketing and Partnerships,

“[Marriott’s] music partnerships help to create strong emotional connections with [Marriott’s]

members and guests, ultimately inspiring them to want to continue to stay with [Marriott] … By

tapping into the universal language of music, [Marriott] [is] able to provide unique experiences for

members . . . .” 28

           131.    But there’s a problem with Marriott’s approach: it regularly exploits videos that

contain unlicensed sound recordings owned by Sony Music and others.

           132.      The use of popular and trending music in the Marriott Videos is critical to

Marriott’s marketing program’s reach and penetration.

           133.    On algorithm-driven social media platforms like Instagram and TikTok, adding

popular sound recordings to a post causes it to appear in the feeds of users who are interested in

the music and might not otherwise come across the Marriott posts.




28
     https://www.chiefmarketer.com/w-hotels-creates-one-kind-experience-coachella/


                                                        18
        134.    Including these popular sound recordings leads users to discover posts when

searching on the platform for content incorporating certain artists, songs or music-related tags.

        135.    For example, the Instagram page for the W Fort Lauderdale, a hotel managed by

Marriott, posted an advertisement featuring Beyoncé’s “Alien Superstar” in April 2023. That video

has over 94,500 views, making it the most viewed reel on that social media account. Currently,

the Instagram page for the W Fort Lauderdale has approximately 33,300 followers. 29

        136.    Marriott is well aware that popular music is a key way to draw consumers to its

advertisements—all things being equal, including the use of similar hashtags, videos that use

popular music will generate significantly more views than videos that feature non-major label

music, production music or no music at all.

        137.    For example, a Marriott Video posted to the Instagram account for the Sheraton

Grand Los Angeles on April 1, 2024, exploiting (without authorization) the Sony Music Recording

“Unwritten” by Natasha Bedingfield, had 11,200 views as of May 9, 2024 30 compared to the less

than 700 views for posts on the same account using music from a non-major music label,

production music or no music at all. 31

        138.    Marriott also engages in paid advertising on social media, including, among other

things, “boosting” of social media videos exploiting music, including videos with Sony Music

sound recordings, in an effort to increase their reach. 32




29
    https://www.instagram.com/reel/CreAnLHgiYR/-
30
    https://www.instagram.com/reel/C5O2Ii3JRLf/
31
    https://www.instagram.com/reel/C4LWLIZBgat/ (Sheraton Grand Los Angeles post with 437 views as of May 9,
2024 exploiting music from a non-major music label); https://www.instagram.com/reel/CjGQDyktbpV/ (Sheraton
Grand Los Angeles post with 267 views as of May 9, 2024 exploiting non-major label music);
https://www.instagram.com/reel/B4k6uDTFROf/ (Sheraton Grand Los Angeles post with 175 views as of May 9,
2024 utilizing production music)
32
   https://www.facebook.com/ads/library/?active_status=all&ad_type=political_and_issue_ads&country=US&id=74
04126022963455&view_all_page_id=20372413613&search_type=page&media_type=all



                                                     19
         139.   Marriott’s infringement is rampant, and not limited to content controlled by Sony

Music.

         140.   In addition to the hundreds of infringements that were posted in the United States

in the last three years involving Sony Music’s sound recordings that Sony Music has identified on

its own, upon information and belief, Marriott has used, without permission, many sound

recordings owned and controlled by numerous other record labels, as well as musical compositions

owned and controlled by various music publishers.

         141.   Marriott has also created, posted, and/or caused its managed and franchised hotels

to create and/or post, videos on social media channels ostensibly controlled by ex-U.S. entities that

contain unlicensed sound recordings.

         142.   Marriott is fully aware that the Marriott Videos contain popular and unlicensed

sound recordings.

         143.   Marriott’s selection of Sony Music Recordings for use in the Marriott Videos is

deliberate and meant to enhance the Marriott Videos’ commercial appeal.

         144.   Marriott actively integrates Sony Music Recordings into the Marriott Videos,

including by explicitly referencing the Sony Music Recording in the Marriott Video itself, or in

the Marriott Video’s caption.

         145.   As shown in Figure 1 below, a Marriott Video posted to the Instagram channel for

the W Scottsdale, exploits the Sony Music Recording “Winter Wonderland” by Kaskade to

promote an event bearing the same name, and explicitly references the title of the track in the video

and caption.




                                                 20
                                               Figure 1

       146.    Marriott purposefully selects certain sound recordings for use in the Marriott

Videos because they directly relate to Marriott’s marketing campaigns or properties.

       147.    As shown in Figure 2 below, one of the Marriott Videos exploits the Sony Music

Recording “Texas Hold ‘Em” by Beyoncé to advertise one of Marriott’s Texas properties (The

Ritz-Carlton Dallas).




                                               21
                                          Figure 2



      148.   Similarly, as shown in Figure 3 below, another of the Marriott Videos exploits the

Sony Music Recording “Miami” by Will Smith to advertise one of Marriott’s Miami properties

(The W Miami).




                                             22
                                              Figure 3



       149.   As pictured in Figure 4 below, Marriott exploited the Sony Music Recording “Girls

Just Want To Have Fun” by Cyndi Lauper in a video portraying a “Girls’ trip” at its JW Marriott

Los Angeles property.




                                              23
                                         Figure 4



      150.   In another example, pictured in Figure 5 below, Marriott exploited the Sony Music

Recording “Sleigh Ride” by The Ronettes in a video promoting a “Grinch themed pop-up bar”

around Christmastime at the Moxy Downtown Nashville franchised property.




                                            24
                                                 Figure 5

        151.    Marriott strategically posts videos incorporating Sony Music Recordings shortly

after their release dates.

        152.    For example, Marriott made uses of Madison Beer’s “Make You Mine”, Beyoncé’s

“Texas Hold ‘Em”, Lost Frequencies & David Kushner’s “In My Bones”, and Nate Smith’s

“Here’s to Hometowns” within one month of those tracks’ release dates.

        153.    Marriott often exploits recordings repeatedly when they are at the top of the charts

or trending online.

        154.    For example, Marriott posted the infringing Marriott Video in Figure 2 above,

exploiting Beyoncé’s “Texas Hold ‘Em” on February 24, 2024—three days after the track debuted


                                                 25
at No. 1 on Billboard’s Hot Country Songs chart, 33 and two days before the track hit No. 1 on

Billboard’s Hot 100. 34 Marriott then exploited that track three more times within a month of the

track hitting No. 1 and remaining at least in the top 5 throughout that time period. 35

           155.     In the last three years alone, Marriott made at least twenty uses of “All I Want for

Christmas Is You” by Mariah Carey—one of Sony Music’s most popular recordings—in late

November or December, when the track is most in-demand. 36

           156.     Marriott’s use of newly released, popular, and trending sound recordings in the

Marriott Videos was deliberate and done to maximize the reach and penetration of the videos.

Indeed, businesses that actually seek licenses pay significant amounts to use popular music in

commercials and advertisements, including on social media.

           157.     According to a study done by Texas A&M researchers, individuals viewing

advertisements including music in the background had “higher emotional arousal and attention

level” than those who saw the commercial without music. 37

           158.     Articles discussing the use of music in advertisements suggest that music makes

campaigns more memorable and effective and “keep[s] viewers interested and wanting more.” 38

           159.     The advantages of using music in advertising is bolstered by the effectiveness of

social media marketing in general, “[s]ocial media is a strong tool for brands to reach this

generation . . . .” 39


33
   https://www.npr.org/2024/02/21/1232827781/beyonce-texas-hold-em-country-chart
34
   https://www.billboard.com/lists/beyonce-texas-hold-em-number-one-hot-100/
35
   https://www.billboard.com/charts/hot-100/
36
   See, e.g., https://www.billboard.com/music/chart-beat/mariah-carey-all-i-want-for-christmas-is-you-number-one-
hot-100-14-weeks-1235565006/ (noting that the track “ruled the [Billboard] Hot 100 over five holiday seasons” as
of 2023).
37
   https://today.tamu.edu/2021/08/16/how-background-music-in-ads-affects-consumers/
38
   https://www.forbes.com/sites/forbesagencycouncil/2023/09/08/boosting-the-creative-journey-how-brands-and-
creators-can-use-instagrams-latest-updates/?sh=3332f93444e8
39
     https://skift.com/2023/03/22/gen-z-is-influencing-hotels-to-rethink-strategies-a-skift-deep-dive/


                                                            26
         160.     A recent HubSpot study found that “short-form video is still the most popular and

effective content format on social media. They continue to capture the audience’s attention.” 40

         161.     According to a TikTok study, “67% of TikTok users would prefer to see videos

from brands featuring popular or trending songs on TikTok.” 41

         162.     TikTok also advises brands that “[u]sing a trending song in your brands’ TikTok

content is a great way to capture [users’] attention.” 42

         163.     Another TikTok-commissioned study shows that when TikTok limited the amount

of popular music that many users in Australia could access, it saw a marked decrease in users and

user engagement. 43

         164.     As TikTok states, “music is at the heart of the TikTok experience” and is “the glue

that connects TikTok’s disparate threads.” 44

         165.     The Marriott Videos are standard commercial uses of sound recordings.

         166.     The Marriott Videos are textbook examples of how music is typically used in

commercial advertisements.

         167.     Sony Music and other music companies regularly license the use of their sound

recordings for just such commercial uses.

         168.     Marriott knows how to license when it so desires and has done so on at least one

occasion when it previously entered into a license with Sony Music for the use of a Sony Music

sound recording on social media in relation to the Sheraton Hotel brand.


40
   https://www.spiceworks.com/marketing/marketing-strategy/news/instagram-offers-new-ad-tools-and-surfaces-to-
help-brands/#:~:text=According%20to%20a%20recent%20study,Instagram%20Reels%20on%20the%20platform
41
    https://newsroom.tiktok.com/en-us/new-studies-quantify-tiktoks-growing-impact-on-culture-and-music (although
this statement and the following specifically discuss TikTok the principles and concepts equally apply to other social
media platforms)
42
   Id.
43
   https://www.bloomberg.com/news/articles/2023-03-22/tiktok-lost-customers-when-it-took-away-music-in-
australia?sref=Adr3lZQP
44
   https://Newsroom.tiktok.com/en-us/year-on-tiktok-music-report-2021


                                                         27
           F.      Marriott’s Direct Infringement

           169.    Upon information and belief, Marriott creates and/or posts Marriott Videos to the

social media accounts for the brands and properties it owns.

           170.    Upon information and belief, Marriott is a verified owner of and is responsible for

managing and/or operating the Facebook accounts for Marriott-managed properties.

           171.    Upon information and belief, Marriott is responsible for creating and/or posting

Marriott Videos to Facebook accounts for Marriott-managed properties and/or for distributing

Marriott Videos to users of Facebook.

           172.    Upon information and belief, the Facebook accounts for Marriott-managed

properties are linked to the Instagram accounts for those same properties, and Marriott has

ownership of and is responsible for managing and/or operating the Instagram accounts for

Marriott-managed properties. Upon information and belief, many videos posted on the Facebook

accounts for the Marriott-managed properties, including Marriott Videos, are also posted to the

Instagram accounts for those properties on or around the same date. 45

           173.    Upon information and belief, Marriott is responsible for creating and/or posting

Marriott Videos to Instagram accounts for Marriott-managed properties, and/or for distributing the

Marriott Videos to users of Instagram.

           174.    Upon information and belief, Marriott is responsible for managing and/or operating

other social media accounts for Marriott-managed properties.

           175.    Upon information and belief, Marriott is responsible for creating and/or posting

Marriott Videos to other social media accounts for Marriott-managed properties and/or distributing

the Marriott Videos to the users of those platforms.



45
     See e.g., https://www.instagram.com/reel/CsTjOe7vRrf/; https://www.facebook.com/reel/493390742933319


                                                       28
           176.    Upon information and belief, Marriott creates and/or posts Marriott Videos to the

Managed Social Media Pages for properties it manages and/or distributes the Marriott Videos to

users of the social media platforms on which the Managed Social Media Pages exist.

           177.    Upon information and belief, Marriott is a verified owner of and is responsible for

managing and/or operating the Facebook accounts for certain Marriott-franchised properties.

           178.    Upon information and belief, Marriot is responsible for creating and/or posting

Marriott Videos to Facebook accounts for certain Marriott-franchised properties and/or for

distributing the Marriott Videos to users of Facebook.

           179.    Upon information and belief, the Facebook accounts for Marriott-franchised

properties are linked to the Instagram accounts for those same properties, and Marriott also has

ownership of and is responsible for managing and/or operating the Instagram accounts for certain

Marriott-franchised properties. Upon information and belief, many videos posted on the Facebook

accounts for the Marriott-franchised properties, including the Marriott Videos, are also posted to

the Instagram accounts for those properties on or around the same date. 46

           180.    Upon information and belief, Marriot is responsible for creating, and/or posting

Marriott Videos to Instagram accounts for certain Marriott-franchised properties and/or for

distributing the Marriott Videos to users of Instagram.

           181.    Upon information and belief, Marriott is responsible for operating and/or managing

the social media accounts for certain Marriott-franchised properties on other social media

platforms.

           182.    Upon information and belief, Marriot is responsible for creating and/or posting

Marriott Videos to other social media accounts for certain Marriott-franchised properties and/or



46
     See e.g., https://www.instagram.com/reel/CaVfJKWFjRi/; https://www.facebook.com/reel/736708410706240


                                                      29
distributing the Marriott Videos to the users of those platforms.

       183.     Upon information and belief, Marriott creates and/or posts Marriott Videos to the

Franchised Social Media Pages for franchised properties and/or distributes the Marriott Videos to

users of the social media platforms on which the Franchised Social Media Pages exist.

       184.     In the Marriott Videos, Sony Music Recordings are duplicated and synchronized

with visual content without permission, creating an unauthorized derivative work, all of which

constitutes direct copyright infringement.

       185.     When posting the Marriott Videos to Marriott’s Social Media Pages, Marriott

makes an unauthorized copy of the Sony Music Recordings, which constitutes direct copyright

infringement.

       186.     Marriott distributes the Marriott Videos through Facebook, Instagram, and other

digital platforms when it makes the Marriott Videos available on those platforms, which users

download and/or share, which constitutes direct copyright infringement.

       G.       Secondary Liability for Infringement by Marriott Managed and Marriott
                Franchised Hotels

       187.     In so far as Marriott is not directly liable for creating and/or posting the Marriott

Videos to the social media accounts of Marriott-managed or Marriot-franchised hotels and

distributing the Marriot Videos (as applicable), Marriott is secondarily liable for the direct

infringements by the Marriott-managed and Marriott-franchised hotels.

                1.     Secondary Liability for Managed Hotels’ Activities

       188.     Upon information and belief, to the extent that the Marriott Videos on the social

media accounts of the Marriott-managed hotels are not created and/or posted by Marriott, the

Marriott-managed hotels create and/or post such Marriott Videos to the hotel’s social media

account and distribute those Marriott Videos, and thus engage in direct infringement.



                                                 30
                            a. Marriott’s Vicarious Liability for Managed Hotels’ Infringements

           189.    Marriott receives a direct benefit from the Marriott-managed hotels’ infringement

through the increased revenue it receives as a result of the Marriott Videos, including without

limitation through increased hotel bookings, money spent at the hotels, and advertising revenue,

as well as from the increased brand awareness and value generated by the infringing

advertisements.

           190.    Marriott-managed hotels pay Marriott management fees which are, upon

information and belief, at least seventeen percent of their gross revenue. 47

           191.    The Marriott Videos lend legitimacy to the Marriott-managed hotels and draw to

consumers to stay at the Marriott-managed hotels and use the services and facilities offered at

those hotels by, among other things, including click-through booking options, thus increasing

Marriott’s management fees.

           192.    Marriott possesses the right and ability to supervise or control the infringement

through, among other things, its agreements with the Marriott-managed hotels and/or its right and

ability to operate and control the Managed Social Media Pages, and has (i) the right to direct and/or

review the advertising the Marriott-managed hotels engage in and (ii) the right and ability to cause

the Marriott Videos to be removed from the Managed Social Media Pages. Upon information and

belief, Marriott has exercised such right and ability by, among other things, causing certain

Marriott-managed hotels to remove some specific Marriott Videos after Sony Music notified

Marriott of its infringement.




47
     https://www.deseret.com/2002/10/6/19681381/property-owners-marriott-face-off/


                                                        31
                           b. Marriott’s Contributory Liability for Managed Hotels’ Infringements

           193.    Marriott knew or should have known of the Marriott-managed hotels’ infringement

or was willfully blind to such infringement.

           194.    Upon information and belief, Marriott reviewed and approved the Marriott Videos,

including but not limited to the use of the Sony Music Recordings in such videos. Marriott was

aware that the use of such Sony Music Recordings was a violation of copyright law as terms of

use of the social media platforms at issue specifically warned Marriott that the use of copyrighted

content without permission is prohibited.

           195.    Upon information and belief, Marriott tracks social media posts that tag Marriott

properties, including those made by Marriott-managed hotels.

           196.    Marriott’s team “operates around the clock [and] sifts through over 300,000 guests

posts from Marriott properties around the world,” and uses geo-fencing to “see every public

posting on a social-media platform done from within their properties.” 48

           197.    According to Marriott’s former President and CEO, Marriott employs “social

media experts” who “surface Twitter, Facebook, Instagram and Weibo public posts” tagging “one

of [Marriott’s] 6,000-plus properties.” 49

           198.    Marriott was also aware of specific infringing posts by the Marriott-managed hotels

that Sony Music identified in prior communications with Marriott, and through additional specific

notices sent by or on behalf of other third-party content owners or the platforms themselves.

Despite that knowledge, Marriott, to this day, permits its managed hotels to continue to post videos

containing Sony Music sound recordings.

           199.    Marriott causes or materially contributes to Marriott-managed hotels’ infringing


48
     https://www.cnbc.com/2016/08/02/why-marriott-looks-at-what-you-post-on-social-media-from-your-room.html
49
     https://www.linkedin.com/pulse/my-valentine-social-media-arne-sorenson/


                                                       32
activity by allowing the managed hotels to continue to post the Marriott Videos on the Managed

Social Media Pages.

           200.    Upon information and belief, Marriott, through its agreements with the managed

hotels, has the right to remove, or cause its managed hotels to remove, the Marriott Videos from

the social media channels at issue, but has decided to remove or require removal of only a small

fraction of the infringing videos Sony Music previously identified.

           201.    Upon information and belief, Marriott, through its agreements with the managed

hotels, has the right to penalize its managed hotels or even terminate its relationship with the

managed hotels for violations of federal law, including copyright law. Yet, Marriott has refused

to penalize its managed hotels or end its relationship with such hotels despite its knowledge of

these hotels’ infringing activity, instead choosing to continue to offer its services, including its

marketing services, to assist with, approve, and implement the infringing advertising, lending its

brand name and trademark to Marriott-managed hotels for use in advertising and employing

individuals and developing tools to assist the Marriott-managed hotels with development of social

media channels and branding. 50

                   2.      Secondary Liability for Franchisees’ Activities.

           202.    Upon information and belief, to the extent that the Marriott Videos on the social

media accounts of the Marriott-franchised hotels are not created and/or posted by Marriott, the

Marriott franchised hotels create and/or post such Marriott Videos to social media accounts for

those franchised hotels, and distribute those Marriott Videos, and thus engage in direct

infringement.



50
     https://www.grupodiestra.com/wp-content/uploads/2021/07/JW-Social-Media-General.pdf




                                                       33
                             a. Marriott’s Vicarious Liability for Franchisees’ Infringements

           203.     Marriott receives a direct benefit from the Marriott-franchised hotels’ infringement

through increased revenue as a result of the Marriott Videos, via ongoing, revenue-based fees,

including without limitation from increased hotel bookings and money spent at the hotels,

advertising revenue, as well as from the increased brand awareness and value generated by the

infringing advertisements.

           204.     The Marriott Videos lend legitimacy to the Marriott-franchised hotels and draw

consumers to stay at the Marriott-franchised hotels and use the services and facilities offered at

those hotels by, among other things, including click-through booking options, thus increasing the

revenue-based fees Marriott receives.

           205.     Marriott possesses the right and ability to supervise or control the infringement

through, among other things, its agreements with the franchisees and/or its right to operate and

control the Franchised Social Media Pages, and has the right to direct and/or review the advertising

the Marriott franchisees engage in.

           206.     Marriott’s right and ability to control the infringing activity is evidenced by the

franchise disclosure document, “[Marriott] or our designee will direct all advertising, promotional,

and public relations programs and activities of the Marketing Fund using our discretion over the

concepts, materials, and media used in the programs and activities and the placement and

allocation” and the “[Franchisee] must use signs and other marketing materials only in the places

and manner approved or required by [Marriott] and in accordance with the standards and applicable

law” and “[Franchisee] must deliver samples of marketing materials not provided by us and obtain

prior approval from us before any use.” 51



51
     Supra, note 19 at p.76-77


                                                     34
           207.   Upon information and belief, Marriott also possesses the right and ability to cause

the Marriott Videos to be removed from the Franchised Social Media Pages. Upon information

and belief, Marriott has exercised such right and ability by, among other things, causing certain

Marriott-franchised hotels to remove some specific Marriott Videos after Sony Music notified

Marriott of its infringement.

                          b. Marriott’s Contributory Liability for Franchisees’ Infringements

           208.   Marriott knew or should have known of the Marriott franchisees’ infringement or

was willfully blind to such infringement.

           209.   Per Marriott’s franchise disclosure document, Marriott directs most of the

advertising and marketing done by franchisees. 52

           210.   Marriott must approve any independent marketing or advertising the franchisee

wishes to engage in. 53

           211.   Upon information and belief, Marriott reviewed and approved the Marriott Videos

posted to the Franchised Social Media Pages, including but not limited to the use of the Sony

Music Recordings in such videos. Marriott was aware that the use of such Sony Music Recordings

was a violation of copyright law as the terms of use of the social media platforms at issue

specifically warned Marriott that the use of copyrighted content without permission is prohibited.

           212.   Marriott also has knowledge of the Marriott franchisees’ infringing activity as it

reviews and tracks posts made referencing the Marriott-franchised hotels.

           213.   Upon information and belief, Marriott tracks social media posts that tag Marriott’s

properties, including those made by franchised hotels.

           214.   Again, Marriott employs “social media experts” who “surface Twitter, Facebook,


52
     Id.
53
     Id.


                                                  35
Instagram and Weibo public posts” tagging “one of [Marriott’s] 6,000-plus properties.” 54

           215.     Like the Marriott-managed properties, Marriott was aware of specific infringing

posts by Marriott franchisees that Sony Music specifically identified in prior communications, and

through additional specific notices sent by or on behalf of other third-party content owners or the

platforms themselves. Despite that knowledge, to this day, Marriott permits its franchised hotels

to continue to post videos containing Sony Music sound recordings.

           216.     Marriott causes or materially contributes to the franchisees’ infringement by

allowing the franchisees to continue to post the Marriott Videos on the Franchised Social Media

Pages.

           217.     On information and belief, Marriott, through its agreements with the franchised

hotels, has the right to remove, or cause its franchised hotels to remove, the Marriott Videos from

the social media channels at issue, but has decided to remove or require removal of only a small

fraction of the infringing videos Sony Music previously identified.

           218.     Upon information and belief, Marriott, through its agreements with the franchised

hotels, has the right to penalize its franchisees or even terminate its relationship with the franchised

hotels for violations of federal law, including copyright law. Yet, Marriott has refused to penalize

its franchisees or end its relationship with such hotels despite its knowledge of these hotels’

infringing activity, instead choosing to continue to offer its services, including its marketing

services, to assist with, approve, and implement the infringing advertising, lending its brand name

and trademark to the franchisees for use in advertising and administering a Marketing Fund “for

advertising, sales and marketing, promotional programs, and research for Marriott hotels and [ ] in

the United States and Canada.” 55


54
     Supra, note 49
55
     Supra, note 19 at p. 75


                                                   36
       H.      Secondary Infringement by Marriott for Influencers’ Activities

       219.    Marriott has also engaged in secondary infringement through its reliance on third-

party influencers to advertise the company and its products or services and drive sales.

       220.    For example, in the infringing video pictured in Figure 6 below, which exploits the

Sony Music Recording “SexyBack” by Justin Timberlake, the influencer demonstrated their

connection to Marriott through the “Paid Partnership” tag, and by tagging the Marriott Bonvoy

corporate account.

       221.    The caption also indicates that the post was a paid advertisement through the use

of the #ad hashtag.




                                             Figure 6

       222.    Marriott derives a direct financial benefit from the highly promotional nature of the

Marriott Influencer Videos posted by Marriott’s influencers, driven by the unlicensed music,

which encourage consumers to stay at the Marriott-owned, Marriott-managed and Marriott-


                                                37
franchised hotels and pay for the services and facilities offered at those hotels by, among other

things, including links to sign up for Marriott programs that provide booking discounts.

        223.       Marriott also receives a direct benefit from the influencer’s infringement through

increased brand awareness as a result of the Marriott Influencer Video advertisements as the

Marriott Influencer Videos not only reach individuals that are fans of the music and/or artist of the

track used in the advertisements but also the influencer’s followers.

        224.       The Marriott Influencer Videos posted by Marriott’s influencers to their own pages

are a low-cost alternative to hiring a third-party advertising agency to create commercials, in order

to avoid paying the copyright owners, and provide Marriott with the same direct financial benefit.

        225.       Marriott has the right and ability to control the infringement as it has the right to

review, approve and/or require removal of Marriott Influencer Videos. Despite this, Marriott has

continued to allow its influencers to post infringing videos.

        226.       Marriott states it “reserve[s] the right to reject or remove [influencer] sites at any

time, for any reason” including if the channel “[v]iolates intellectual property of Marriott or any

third party.” 56

        227.       Upon information and belief, Marriott maintains the right and ability to control its

influencers’ infringement even aside from any formal contract, as there is nothing stopping

Marriott from placing conditions on provision of commissions or other consideration to

influencers, such as compliance with copyright laws, or from penalizing influencers or terminating

relationships with influencers who infringe. Yet, Marriott has refused to penalize its influencers

or end its relationship with them despite its knowledge of their infringing activity.

        228.       Marriott also has knowledge of its influencers’ infringing activity (or has reason to


56
  https://www.marriott.com/content/dam/marriott-digital/fp/apec/hws/a/aqafp/en_us/document/assets/fp-aqafp-
affiliate-program-faqs-39381.pdf


                                                      38
know or is willfully blind to such infringing activity) and causes or materially contributes to the

infringement.

           229.       In addition to its review and approval of the Marriott Influencer Videos, some of

these posts contain hashtags signifying that they are ads, “sponsored” or were made via a “paid

partnership” with Marriott.

           230.       Marriott’s influencers generally tag Marriott’s corporate accounts, which also gives

Marriott direct knowledge of the infringing use because Marriott receives a notification from the

relevant platform each time it is tagged and upon information and belief it reviews posts that tag

Marriott accounts, as Marriott “employs “social media experts” who “surface Twitter, Facebook,

Instagram and Weibo public posts” tagging “one of [Marriott’s] 6,000-plus properties.” 57

           231.       Marriott Influencers also create posts in conjunction with a Marriott brand and/or

hotel where the Marriott brand and/or Marriott hotel and the third-party have agreed to be

collaborators on a particular post and as a result the usernames for both accounts appear on the

post, the post appears both on the third-party’s social media page and the social media page for the

relevant Marriott brand or property, and the post is shared with the third-party’s followers and the

followers for the relevant Marriott brand or property.

           232.       For example, the infringing video pictured in Figure 7 below, which exploits the

Sony Music Recording “Stay With Me” by Calvin Harris, is a collaboration post between the

influencer @bexventure and the Marriott-managed hotel SLS Beverly Hills.




57
     Supra, note 49


                                                       39
                                                    Figure 7

        233.     Marriott actively reviewed, selected, copied, re-posted, and shared infringing

content created by its influencers to the Marriott Social Media Pages, (including by employing

individuals responsible for “[c]ultivat[ing] influencer relationships by sourcing talent and

executing agreements with influencers to carry the Marriott message across their platforms,” 58 and

“implement[ing] social influencer program[s]).” 59

        234.     Marriott has also commented directly on certain Marriott Influencer Videos.

        235.     Marriott induces or contributes to its influencers’ infringement by employing a

“Dedicated Affiliate Team”, which it touts as a “highly experienced team of online marketers who

are here to help [Marriott influencers] succeed.” 60

        236.     Marriott also induces or contributes to its influencers’ infringement by providing

the “raw materials” (i.e., hotel stays and amenities) for the creation of the Marriott Videos and


58
   https://www.linkedin.com/in/laura-troy-b918302b
59
   https://www.linkedin.com/in/markindre
60
   https://www.marriott.com/marriott/affiliateprogram.mi


                                                       40
permitting influencers’ to film the hotel and employees, as well as a platform on which the Marriott

Influencer Videos can be widely shared.

       237.    Marriott’s compensation of influencers for creation of the Marriott Influencer

Videos—including by way of free or discounted stays, vouchers or gift certificates for hotel

amenities, or other items of value—also constitutes material contribution and inducement.

                                  DAMAGE TO SONY MUSIC

       238.    Marriott’s infringements rob Sony Music of the substantial licensing revenues it is

entitled to for use of the Sony Music Recordings.

       239.    Marriott’s infringements undermine Sony Music’s investments in its artists and

recordings, and deprive those artists of revenue.

       240.    In addition to the license fees Sony Music should have received from Marriott and

its influencers, other potential licensees may have been less likely to use a Sony Music sound

recording that was used by another brand.

       241.    Marriott’s infringing conduct also induces other businesses to believe that they can

use Sony Music’s sound recordings in advertisements without paying for the right to do so.

       242.    The unauthorized use of Sony Music’s sound recordings substantially interferes

with its and its artists’ right to determine whether to license use of a particular sound recording at

all, and their right to decide what brands should be able to use their music to promote its products

or services.

       243.    Marriott has caused Sony Music irreparable harm, and damages in an amount to be

determined at trial.

                       MARRIOTT’S INFRINGEMENT IS WILLFUL

       244.    Marriott’s infringement is knowing and willful.




                                                 41
        245.    On numerous occasions since January 2020, Sony Music has repeatedly given

Marriott notice of infringing posts, and of Marriott Social Media Pages containing infringing

content.

        246.    On information and belief, Marriott has also received notices regarding the

unauthorized use of copyrighted music from the social media platforms themselves and/or from

other content owners.

        247.    In 2021, Marriott was sued for precisely this issue: the unauthorized use of

copyrighted content on social media. Greetings Tour Inc. v. Marriott International, Inc. et al., 21-

cv-09336 (C.D. Cal. 2021).

        248.    Nonetheless, Marriott has continued to post new infringing videos and has

continued to make previously posted infringing videos (including videos Sony Music had

specifically identified to Marriott) available long after learning of Sony Music’s claims.

        249.    Sony Music first gave Marriott notice of infringing videos that used Sony Music

sound recordings on January 16, 2020.

        250.    Sony Music continued to identify additional infringing videos to Marriott, on

November 2, 2020, March 16, 2021, March 22, 2022, and March 22, 2024.

        251.    The majority of infringing uses listed in Exhibits 1 and 2 are uses that were posted

after Sony Music made Marriott aware of its infringing conduct and significant number of those

videos were previously identified to Marriott.

        252.    Of the videos listed in Exhibits 1 and 2 containing unauthorized Sony Music

previously identified to Marriott, at least 166 are still available on the Marriott Social Media Pages

as of the time of filing.

        253.    Sony Music has continued to discover new infringements on the Marriott Social




                                                 42
Media Pages, including approximately 675 new exploitations of Sony Music recordings, many of

which remain available as of this filing.

        254.     At least forty-seven of the infringements Sony Music has identified were posted in

the month of May alone, and dozens of those videos were posted to Instagram Stories.

        255.     Upon information and belief, Marriott and its managed and franchised hotels are

making a concerted effort to avoid detection by posting infringing content to Instagram Stories,

which are only available for twenty-four hours.

        256.     Upon information and belief, Marriot-managed hotels, Marriott’s franchisees, and

Marriott’s influencers continue to post infringing videos, and refuse to take down infringing

content.

        257.     At the time Marriott and/or its managed and franchised hotels made and/or posted

the Marriott Videos, they were aware of the requirements of the United States Copyright Act and

the need to obtain licenses from Sony Music before using any of the Sony Music Recordings.

        258.     In at least one instance, Marriott has previously entered into a license with Sony

Music in 2019 for use of a Sony Music sound recording in an online video advertising its Sheraton

brand hotels.

        259.     Marriott employs “Music Directors” as part of a team of “music industry experts”

to serve as its “Global Music Collective.” 61 These employees are tasked with “advis[ing]” Marriott

on its “ongoing music initiatives.” 62 As “music industry experts,” these Marriott employees know

of the need to obtain a license for the use of copyrighted music.




61
   https://news.marriott.com/news/2019/10/08/she-sets-the-score-w-hotels-announces-appointment-of-leah-
chisholm-as-music-director-north-america
62
   Id.


                                                      43
        260.    In at least one instance, Marriott ran a social media contest on TikTok and

instructed third-party entrants that their “[e]ntries should not include music protected by a

copyright” unless the entrant “own[s] [it] or ha[s] the rights to use” it. 63

        261.    Further indicating Marriott’s willfulness, the terms of service of each of the social

media platforms used by Marriott make clear to users that the use of copyrighted music without a

license is strictly prohibited.

        262.    YouTube’s Terms of Services 64ate that any content a user uploads to YouTube

“must not include third-party intellectual property (such as copyrighted material) unless [a user]

ha[s] permission from that party or [is] otherwise legally entitled to do so.”

        263.    Facebook’s Music Guidelines 65, which are also incorporated into Instagram’s

Terms of Use, state that “[u]se of music for commercial or non-personal purposes in particular is

prohibited unless you have obtained appropriate licenses.”

        264.    At least as early as April 2018, Instagram’s Terms of Use 66 incorporated Music

Guidelines found on Facebook’s website which specifically prohibit the commercial use of music

without an appropriate license.

        265.    For commercial uses, Instagram provides access to a separate Sound Collection

through Facebook, “which are entirely royalty free and safe to use in Reels and Instagram Stories,

including for commercial purposes (such as an ad).” 67

        266.    None of the Sony Music Recordings in the Marriott Videos are included in

Instagram’s “Sound Collection” audio library.




63
    https://30stays300days.marriott.com/
64
    https://www.youtube.com/static?template=terms
65
    https://www.facebook.com/legal/music_guidelines
66
    https://help.instagram.com/581066165581870
67
   https://m.facebook.com/help/instagram/402084904469945?dl_redirect=1&wtsid=rdr_0iILhouiviKP3oagi


                                                    44
           267.    Instagram expressly states that access to its licensed music library is subject to its

agreements with rights holders which are “intended to enable personal, non-commercial uses of

music.” 68

           268.    Facebook’s Terms of Service and Music Guidelines 69, which also apply to

Instagram, cautions users that they “may not use [their] Products to do or share anything . . . that

infringes or violates someone else’s rights, including their intellectual property rights” and

provides that “[u]se of music for commercial or non-personal purposes in particular is prohibited

unless you have obtained appropriate licenses.”

           269.    Marriott and its influencers were required to agree, and did agree, to these social

media platforms’ terms of use each time they created accounts on these platforms.

           270.    Marriott posted numerous Marriott Videos exploiting Sony Music Recordings to

both Instagram and Facebook after April 2018, in blatant disregard of the platforms’ terms of use.

           271.    Despite all of the foregoing, Marriott neither obtained, nor made any effort to

obtain, any permission to use any of the Sony Music Recordings in the Marriott Videos.

           272.    Even after January 16, 2020, when Sony Music notified Marriott of the infringing

Marriott Videos, Marriott continued its wrongful conduct.

           273.    Since January 16, 2020, Marriott has failed and refused to disclose the existence of

additional infringing content that Sony Music did not initially identify or know about.

           274.    Since January 16, 2020, Marriott failed to take down or require its managed and

franchised hotels to take down many of the Marriott Videos.

           275.    Since January 16, 2020, Marriott and/or its managed and franchised hotels posted

new infringing content on the Marriott Social Media Pages in disregard of Sony Music’s rights.


68
     https://help.instagram.com/402084904469945
69
     https://www.facebook.com/legal/music_guidelines


                                                       45
       276.     Since January 16, 2020, Marriott, through its influencers, posted infringing content

in disregard of Sony Music’s rights.

                    COUNT I: DIRECT COPYRIGHT INFRINGEMENT

       277.     Sony Music incorporates the preceding paragraphs of this Complaint as if fully set

forth herein.

       278.     Sound recordings owned and/or controlled by Sony Music, including but not

limited to, the Sony Music Recordings, are original, creative works and constitute copyrightable

subject matter under the Copyright Act.

       279.     Sony Music owned or controlled the copyrights to each of the Sony Music

Recordings during the relevant times of Marriott’s infringement.

       280.     By its actions, Marriott’s creation, posting, and distribution of the Marriott Videos

infringes Sony Music’s copyrights.

       281.     Through these unauthorized uses, Marriott has unlawfully reproduced, prepared

derivative works from and/or distributed the sound recordings listed in Exhibit 1 in violation of at

least 17 U.S.C. § 106(1), (2), and (3), without any authorization, permission, license, or consent

from Sony Music.

       282.     Marriott’s acts of infringement are knowing, deliberate, and in complete disregard

for Sony Music’s rights.

       283.     Marriott’s conduct constitutes willful copyright infringement under 17 U.S.C.

§ 504(c)(2).

       284.     As a direct and proximate result of Marriott’s infringement of Sony Music’s

copyrights and exclusive rights under copyright, Sony Music is entitled to its actual damages,

including Marriott’s profits attributable to the infringement, in amounts to be proven at trial,




                                                 46
pursuant to 17 U.S.C. § 504(b), or, in the alternative, at Sony Music’s election pursuant to 17

U.S.C. § 504(c), to statutory damages up to the amount of $150,000 per infringed work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

       285.     Sony Music is entitled to its costs, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505.

                          COUNT II: VICARIOUS INFRINGEMENT

       286.     Sony Music incorporates the preceding paragraphs of this Complaint as if fully set

forth herein.

       287.     If Marriott is not directly liable for the infringing Marriott Videos on social media

accounts of its managed and franchised hotels, Marriott is, at the very least, vicariously liable for

the infringing Marriott Videos posted and/or created by the Marriott-managed hotels and Marriott

franchisees.

       288.     Marriott is also vicariously liable for the Marriott Influencer Videos posted and/or

created by its third-party influencers.

       289.     As described above, Marriott has the right, ability, and authority to control and

supervise the creation and posting of videos created or posted by its influencers, Marriott-managed

hotels, and Marriott franchisees.

       290.     Marriott has failed to exercise its right and ability to control and supervise the

infringing activity of its influencers, Marriott-managed hotels, and Marriott franchisees.

       291.     As described above, Marriott receives a direct financial benefit from infringing

videos posted by its influencers, Marriott-managed hotels, and Marriott franchisees, and from their

use of Sony Music’s sound recordings.

       292.     Marriott’s influencers’, Marriott-managed hotels’, and Marriott franchisees’




                                                 47
exploitation of the Sony Music Recordings in the infringing videos saves Marriott the cost of a

license, increases Marriott’s sales and revenue, enhances the visibility of Marriott’s properties and

services, and drives users that would not otherwise view Marriott’s social media content to its

accounts and pages that promote the Marriott brands. Marriott’s failure to take any action has

caused its managed and franchised hotels and third-party influencers to continue to use Sony Music

sound recordings without authorization.

       293.     Sony Music has been damaged, and will continue to be damaged, by Marriott’s

knowing, deliberate and willful acts of vicarious infringement.

       294.     Sony Music is entitled to injunctive relief prohibiting Marriott from further acts of

vicarious infringement.

       295.     As a direct and proximate result of Marriott’s vicarious infringement of Sony

Music’s copyrights and exclusive rights under copyright, Sony Music is entitled to its actual

damages, including Marriott’s profits attributable to the infringement, in amounts to be proven at

trial, pursuant to 17 U.S.C. § 504(b), or, in the alternative, at Sony Music’s election pursuant to 17

U.S.C. § 504(c), to statutory damages up to the amount of $150,000 per infringed work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

       296.     Sony Music is entitled to its costs, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505.

                      COUNT III: CONTRIBUTORY INFRINGEMENT

       297.     Sony Music incorporates the preceding paragraphs of this Complaint as if fully set

forth herein.

       298.     If Marriott is not directly liable for the infringing Marriott Videos on social media

accounts of its managed and franchised hotels, Marriott is, at the very least, contributorily liable




                                                 48
for the infringing Marriott Videos posted and/or created by the Marriott-managed hotels and

Marriott franchisees.

       299.    Marriott is also contributorily liable for the Marriott Influencer Videos posted

and/or created by its third-party influencers.

       300.    As described above, Marriott induced and/or materially contributed to the

infringing Marriott Videos posted and/or created by Marriott’s managed hotels, franchisees, and

influencers.

       301.    As described above, Marriott knew, had reason to know, or was willfully blind that

its paid influencers, Marriott-managed hotels, and Marriott franchisees used unlicensed

copyrighted works in the infringing posts at issue because, among other things, Marriott employees

closely track and monitor all social media posts that tag or otherwise mention Marriott, any of its

brands, or any of its properties, actively reviewed infringing content created by influencers,

Marriott-managed hotels, and Marriott franchisees, and upon information and belief has received

specific notices sent by or on behalf of other third-party content owners or the platforms

themselves.

       302.    To the extent Marriott does not have actual knowledge, the systematic infringement

by Marriott and its influencers, Marriott-managed hotels, and Marriott franchisees combined with

Marriott’s substantial investment in social media marketing generally, and influencers in

particular, establishes that Marriott is aware of a high probability of infringement by its

influencers, managed hotels, and franchisees, both consciously and intentionally.

       303.    Marriott’s conduct constitutes willful contributory copyright infringement.

       304.    Plaintiffs have been damaged, and will continue to be damaged, by Marriott’s acts

of contributory infringement.




                                                 49
       305.    Plaintiffs are entitled to injunctive relief prohibiting Marriott from further acts of

contributory infringement.

       306.    In addition, as a direct and proximate result of Marriott’s contributory infringement

of Plaintiffs’ copyrights and exclusive rights under copyright, Plaintiffs are entitled to its actual

damages, including Marriott’s profits attributable to the infringement, in amounts to be proven at

trial, pursuant to 17 U.S.C. § 504(b), or, in the alternative, at Plaintiffs’ election pursuant to 17

U.S.C. § 504(c), to statutory damages up to the amount of $150,000 per infringed work, or such

other amounts as may be proper under 17 U.S.C. § 504(c).

       307.    Plaintiffs are entitled to its costs, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment from this Court in Plaintiffs’ favor against

Defendant:

   a. A declaration that Marriott has willfully infringed Sony Music’s copyrighted sound

       recordings in violation of the Copyright Act;

   b. A permanent injunction requiring Marriott and its agents, employees, officers, attorneys,

       successors, licensees, partners and assignees, and all persons acting in concert with any

       one of them, to cease directly and indirectly infringing, and causing, enabling, facilitating,

       encouraging, promoting, inducing, and/or participating in the infringement of, any of

       Plaintiffs’ rights protected by the Copyright Act;

   c. An order requiring Marriott to render a full and complete accounting to Plaintiffs for

       Marriott’s profits, gains, advantages, and the value of the business opportunities received

       from its infringing activities;




                                                 50
    d. For statutory damages pursuant to 17 U.S.C. § 504(c) for Marriott’s willful infringement

        to the greatest extent provided by the Copyright Act, or, in the alternative, at Plaintiffs’

        election, Plaintiffs’ actual damages and Defendant’s profits attributable to the infringement

        pursuant to 17 U.S.C. § 504(b), in an amount to be proven at trial;

    e. For an award of Plaintiffs’ costs in this action, including reasonable attorneys’ fees,

        pursuant to 17 U.S.C. § 505;

    f. For pre-judgment and post-judgment interest at the applicable rate on any monetary award

        made part of the judgment against Defendant; and

    g. For such other and further relief as the Court deems proper.

                                     JURY TRIAL DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs hereby demand a trial by jury

of all issues that are so triable.

                                                           Respectfully submitted,
                                                           POTTER ANDERSON & CORROON LLP

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